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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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UNITED STATES OF AMERICA : FINAL ORDER OF FORFEITURE
-V.- : S116 Cr. 535 (CS)
MICHAEL KLEIN, :
Defendant.
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WHEREAS, on or about April 11, 2017, this Court entered a Second Consent
Preliminary Order of Forfeiture as to Specific Property (the “Preliminary Order of Forfeiture”)
(D.E, 35), forfeiting to the United States all right, title, and interest of the Defendant in one 2007
Everglades 290 Pilot with Hull serial number RIDA0153A707 (the “Specific Property”);

WHEREAS, the Preliminary Order of Forfeiture directed the United States to
publish, for at least thirty (30) consecutive days, notice of the Preliminary Order of Forfeiture, |
notice of the United States’ intent to dispose of the Specific Property, and.the requirement that any
person asserting a legal interest in the Specific Property must file a petition with the Court in
accordance with the requirements of Title 21, United States Code, Sections 853(n)(2) and (3). The
Preliminary Order of Forfeiture further stated that the United States could, to the extent practicable,
provide direct written notice to any person known to have an alleged interest in the Specific
Property and as a substitute for published notice as to those persons so notified;

WHEREAS, the provisions of Title 21, United State Code, Section 853(n)(L), Rule
32.2(b)(6) of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5)(a)(ii) of

the Supplemental Rules for Admiralty or Maritime Claims and Asset Forfeiture Actions, require

 
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publication of a notice of forfeiture and of the Government’s intent to dispose of the Specific
Property before the United States can have clear title to the Specific Property;

WHEREAS, the Notice of Forfeiture and the intent of the United States to dispose
of the Specific Property was posted on an official government internet site (www. forfeiture.gov)
beginning on June 11, 2020 for thirty (30) consecutive days, through July 10, 2020, pursuant to
Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty and Maritime Claims and Asset
Forfeiture Actions and proof of such publication was filed with the Clerk of the Court on January
8, 2021 (D.E. 76);

WHEREAS, on or about June 2, 2020, notice of the Preliminary Order of Forfeiture
was sent by electronic mail to Michael Pastore (the “Noticed Party”),

WHEREAS, thirty (30) days have expired since final publication of the Notice of
Forfeiture and no petitions or claims to contest the forfeiture of the Specific Property have been
filed;

WHEREAS, the Defendant and the Noticed Party are the only person and/or entity
known by the Government to have a potential interest in the Specific Property; and

WHEREAS, pursuant to Title 21, United States Code, Section 853(n)(7), the
United States shall have clear title to any forfeited property if no petitions for a hearing to contest
the forfeiture have been filed within thirty (30) days of final publication of notice of forfeiture as
set forth in Title 21, United States Code, Section 853(n)(2);

NOW, THEREFORE, IT IS ORDERED, ADJUDGED AND DECREED THAT:

1, All right, title and interest in the Specific Property is hereby forfeited and

vested in the United States of America, and shall be disposed of according to law,

 
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2. Pursuant to Title 21, United States Code, Section 853(n)(7) the United
States of America shall and is hereby deemed to have clear title to the Specific Property.

3. The United States Marshals Service (or its designee) shall take possession
of the Specific Property and dispose of the same according to law, in accordance with Title 21,
United States Code, Section 853(h).

4, The Clerk of the Court shall forward four certified copies of this Final Order
of Forfeiture to Assistant United States Attorney Alexander Wilson, Co-Chief, Money Laundering
and Transnational Criminal Enterprises Unit, United States Attorney’s Office, Southern District
of New York, One St. Andrew’s Plaza, New York, New York 10007.

Dated: New York, New York

January . , 2021
SO ORDERED:

 

HONORABLE CATHY SEIBEL
UNITED STATES DISTRICT JUDGE
